     Case 1:23-mi-99999-UNA Document  2282-15 Filed 07/19/23 Page 1 of 18
                                 2023CV00526                            e-Filed 5/18/2023 9:01 AM




                                                                                                          Tiki Brown
                     IN THE STATE COURT OF CLAYTON COUNTY                                        Clerk of State Court
                                                                                            Clayton County, Georgia
                                STATE OF GEORGIA                                                      Latasha Currie


RONALD WRIGHT,                               )
                                             )
               Plaintiff,                    )       CIVIL ACTION FILE NO.: 2023CV00526
       v.                                    )
                                             )
SANCHEZ ARREDONDO and                        )
COBRA CARRIER, LLC,                          )
                                             )
               Defendants.                   )

                            RULE 5.2 CERTIFICATE OF SERVICE

       This is to certify that pursuant to Uniform Superior Court Rule 5.2, I have this day served

counsel for all parties in the above-referenced matter with a copy of Defendants Sanchez

Arredondo and Cobra Carrier, LLC First Continuing Interrogatories to Plaintiff Ronald

Wright and Defendants Sanchez Arredondo and Cobra Carrier, LLC First Request for

Production of Documents to Plaintiff Ronald Wright using Odyssey eFileGA which will

automatically send e-mail notification of such filing to all parties of record and/or by depositing

a copy of same with the United States Postal Service, with first class postage prepaid, as follows:

                                     Edward Hardrick, Esq.
                                   Morgan & Morgan, PLLC
                                  178 S. Main Street, Unit 300
                                     Alpharetta, GA 30009
                                  ehardrick@forthepeople.com

       Respectfully submitted, this 18th day of May, 2023.

                                                 FAIN, MAJOR & BRENNAN, P.C.

                                                 /s/ Robyn M. Roth
                                                 ROBYN M. ROTH
One Premier Plaza                                Georgia Bar No. 153025
5605 Glenridge Drive NE, Suite 900               Counsel for Defendants Sanchez Arredondo and
Atlanta, GA 30342                                Cobra Carrier, LLC
(404) 688-6633
rroth@fainmajor.com
      Case 1:23-mi-99999-UNA Document  2282-15 Filed 07/19/23 Page 2 of 18
                                  2023CV00526                            e-Filed 5/18/2023 9:01 AM




                                                                                                           Tiki Brown
                                                                                                  Clerk of State Court
                     IN THE STATE COURT OF CLAYTON COUNTY                                    Clayton County, Georgia
                                                                                                           <<Name>>
                                STATE OF GEORGIA

RONALD WRIGHT,                                )
                                              )
               Plaintiff,                     )       CIVIL ACTION FILE NO.: 2023CV00526
       v.                                     )
                                              )
SANCHEZ ARREDONDO and                         )
COBRA CARRIER, LLC,                           )
                                              )
               Defendants.                    )

      DEFENDANTS SANCHEZ ARREDONDO AND COBRA CARRIER, LLC’S
   FIRST CONTINUING INTERROGATORIES TO PLAINTIFF RONALD WRIGHT

TO:    Ronald Wright
       c/o Edward Hardrick, Esq.
       Morgan & Morgan, PLLC
       178 S. Main Street, Unit 300
       Alpharetta, GA 30009

       COMES NOW Sanchez Arredondo and Cobra Carrier, LLC designated as defendants in

the above-captioned case, and hereby requires that plaintiff Ronald Wright answer under oath

and in writing the following interrogatories within 30 days from the date of service as provided

by O.C.G.A. §9-11-33 and that a copy of the answers be furnished to defendant’s attorney,

Robyn M. Roth, Esq., of Fain, Major & Brennan, P.C., located One Premier Plaza, 5605

Glenridge Drive, NE, Suite 900, Atlanta, Georgia 30342.

       NOTE A: When used in these interrogatories, the term “plaintiff” or any synonym

thereof is intended to and shall embrace and include, in addition to the said plaintiff, all agents,

servants, representatives, private investigators, and others who are in a position to obtain or may

have obtained information for or on behalf of the plaintiff.

       NOTE B: These interrogatories shall be deemed continuing to the extent required by

law. You are requested to (1) seasonably supplement any response directed to the identity and
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                                 2023CV00526




location of the persons having knowledge of discoverable matters, as well as the identity of each

person expected to be called as an expert witness at trial, the subject matter of which he is

expected to testify, and the substance of his testimony; and (2) amend any prior response if you

subsequently learn that the original response was incorrect or if you learn that although correctly

made, the original response is no longer true and the circumstances are such that a failure to

amend the response is, in substance, a knowing concealment.

                                   INTERROGATORY NO. 1

       Please state your full name, marital status (and spouse’s full name), your social security

number, date of birth, cell phone number and present street address.

                                   INTERROGATORY NO. 2

       Please state the names, addresses, and telephone numbers of any relatives that you have

who live in Clayton County, Georgia.

                                   INTERROGATORY NO. 3

       What are the names, addresses, home telephone numbers, places of employment, and

present whereabouts of all witnesses known to you who saw or claim they saw all or any part of

the occurrence complained of in this action?

                                   INTERROGATORY NO. 4

       What are the names, addresses, home telephone numbers, places of employment, and

present whereabouts of all witnesses known to you who arrived at the scene of the occurrence

complained of in this action immediately or shortly after its occurrence?
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                                       INTERROGATORY NO. 5

       What are the names, addresses, home telephone numbers, places of employment, and

present whereabouts of all persons known to you who have knowledge of relevant information,

facts, or circumstances in this case?

                                       INTERROGATORY NO. 6

       With respect to each physician or other practitioner of the healing arts, if any, whom you

have seen or been treated by in reference to the injuries you claim you sustained in your

complaint, please state as to each:

       (a) The name and address of said physician;
       (b) On what date or dates you were seen by said physician;
       (c) The name of the treatment you received; and
       (d) The charge made for such treatment.

                                       INTERROGATORY NO. 7

       If you were hospitalized as a result of the injuries alleged in your complaint; please state

in relation to such hospitalization:

       (a) The name and location of said hospital;
       (b) The date or dates of such hospitalization;
       (c) The nature of the treatment rendered during the period of hospitalization;
       (d) The itemized charges incurred as a result of said hospitalization; and
       (e) If any hospital liens have been filed, please identify and state whether or not they
           have been satisfied.

                                       INTERROGATORY NO. 8

       On the date of the incident complained of in the complaint, please describe your

occupational and/or employment status, including but not limited to, the nature of your

occupation(s), your earnings in such occupation(s), and the respective dates that you had such

occupation(s) and such employer(s) with such duties and such earnings.
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                                   INTERROGATORY NO. 9

       If there has been any change in your occupation(s), employer(s), duties or earnings from

the time referred to in the preceding interrogatory to the time of answering these interrogatories;

please describe with specificity each such change.

                                  INTERROGATORY NO. 10

       If your alleged injuries have prevented you from working at any time since the date of the

incident complained of:

       (a) State the date or dates that you were unable to work because of your injuries;
       (b) State what earnings, if any, you lost by reason of each such date of not working;
       (c) State whether you have received any payment (workers’ compensation, sick leave
           pay, disability insurance, income protection insurance, or other) on account of any
           such loss of time from work or loss of earnings; and
       (d) If your answer to subparagraph (c) above is affirmative, please state the amount and
           source of each such payment and explain each such payment.

                                  INTERROGATORY NO. 11

       What period of time do you claim you were disabled as a result of the injuries you allege

that you sustained on the date of the occurrence complained of in this action?

                                  INTERROGATORY NO. 12

       What permanent disability, if any, do you claim as a result of the injuries you claim to

have sustained on the date of the occurrence complained of in this action?

                                  INTERROGATORY NO. 13

       With respect to the last date of treatment you received by any physician or other

practitioner of the healing arts as a result of the injuries alleged in your complaint, please state

the date and name and address of said physician and the nature of such treatment.
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                                   INTERROGATORY NO. 14

       If you have ever been in a prior or subsequent accident of any type where property

damage or personal injury was sustained, please describe each such occurrence, including but not

limited to, the type of accident, the date, the people involved and location thereof, and the type of

damage or injury.

                                   INTERROGATORY NO. 15

       If you have ever been arrested, state the date, place, and charges made in each such arrest

and, if convicted, the date thereof and the court in which such charges were brought.

                                   INTERROGATORY NO. 16

       Other than as fully shown in your answers to preceding interrogatories, if you ever

underwent any surgery before the date of the incident complained of, please describe each such

surgery with specificity, including but not limited to, the date, the place where the surgery was

performed, the nature of the surgery, and the attending surgeon and other physicians.

                                   INTERROGATORY NO. 17

       Other than as fully shown in your answers to the preceding interrogatories, please state

what medical, psychiatric, chiropractic, or therapeutic care or treatment you received before the

date of the incident complained of and the date of each such care or treatment.

                                   INTERROGATORY NO. 18

       To your knowledge, information, or belief, if any of the hospitals or any of the

physicians, surgeons, or chiropractors (or other practitioners of any healing art) made any

report, statement, or bill concerning your examination or treatment, please describe each such

report, statement, or bill with specificity, including but not limited to the date, the person making

the report, etc., the form of the report, etc. (whether oral or written), the subject, the substance
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                                 2023CV00526




and contents of the report, etc., and the location of the report, etc., and the name of the person

having custody, possession, or control.

                                     INTERROGATORY NO. 19

       Will you voluntarily produce each such report, etc., and permit its inspection and copying

by this defendant?

                                     INTERROGATORY NO. 20

       If you have suffered any injury to your body (other than the injuries that you claim to

have suffered in this action), describe each such injury, giving the nature, extent, cause, and date

thereof.

                                     INTERROGATORY NO. 21

       If you have made any claim for personal injury, uninsured motorist protection, property

damage, hospitalization, medical expense, or disability (other than the claims made in this

action), please describe each such claim giving the basis for each such claim, the date of each

such claim, the amount so claimed, and the person, partnership, or corporation against whom

each such claim was made.

                                     INTERROGATORY NO. 22

       If you have been a party to any action (other than this action), please describe each such

action, giving the date of each such action, the court in which it was brought, and the names of

other parties to each such action.

                                     INTERROGATORY NO. 23

       Since the date of the incident complained of, if you have been given any physical

examination (whether in connection with employment or application for insurance or entrance to

any school or the armed forces or otherwise) which you have not referred to in your answers to
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                                 2023CV00526




these interrogatories, please describe each such examination with specificity, including but not

limited to, the date, the place, the person making the examination, and the purpose of the

examination.

                                   INTERROGATORY NO. 24

       To your knowledge, information, or belief, are there any photographs or drawings of the

scene of the incident complained of, any vehicle or other physical object involved in the incident,

or any person (including any party) involved in the incident?

                                   INTERROGATORY NO. 25

       If so, please describe each individual photograph or drawing with specificity, including,

but not limited to, the date made, by whom it was made, the form (whether photographic prints,

transparency, diagram, plat, etc.), the subject represented, all facts represented or shown, and the

present location and the name of the person having possession, custody or control.

                                   INTERROGATORY NO. 26

       Will you voluntarily produce each such photograph or diagram and permit its inspection

or copying by this defendant?

                                   INTERROGATORY NO. 27

       To your knowledge, information, or belief, if there has been any judicial hearing (whether

the trial of traffic charges, a commitment hearing, inquest, previous trial, or otherwise)

concerning the incident complained of, please describe each such hearing with specificity,

including but not limited to, the date, the place, the persons present, the nature of the hearing, the

statement for testimony of each person making any statement or testifying, a description of any

documentary evidence offered or received, the name and address of any person reporting and/or
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transcribing the hearing, the present location of such transcript or copies thereof, and the name of

the person or persons having possession, custody or control of such transcript or copies thereof.

                                  INTERROGATORY NO. 28

       Please itemize all special damages that you claim for medical expenses. If you have any

medical payments coverage, please identify what expenses have been paid by your own medical

payments coverage carrier. If none have been paid, please state why not.

                                  INTERROGATORY NO. 29

       Pursuant to the provisions of O.C.G.A. §9-11-26 (b)(4)(A)(i), plaintiff is requested to

identify each person whom plaintiff expects to call as an expert witness at trial, state the subject

matter on which such expert is expected to testify, and state the substance of the facts and

opinions to which the expert is expected to testify and the summary of the grounds of each

opinion.

                                  INTERROGATORY NO. 30

       If you have retained or employed an expert in anticipation of litigation or preparation for

trial who is not expected to be called as a witness at trial, please identify and state specifically

the name and address of each such expert.

                                  INTERROGATORY NO. 31

       Please identify all sources of compensation, indemnity, insurance (other than life

insurance), wage loss replacement, income replacement, or disability benefits or payments

available to you from any and all governmental or private sources which have been received by

you or which have been paid or will be payable to you or on your behalf for the damages or

injuries sustained in the incident which forms the subject of your complaint. As to each such
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source, state the amount of payment received by you or to be received by you, or which has been

paid on your behalf or which is payable on your behalf.

                                  INTERROGATORY NO. 32

       Please provide your email address, the account/username for each and every social media

account you had from the date of the incident to the present time, including but not limited to,

Facebook, Twitter, Instagram, Snapchat, YouTube, Google, LinkedIn, TikTok, etc.

                                  INTERROGATORY NO. 33

       Please produce your Facebook profile. (In order to create the zip file that contains the

profile, please sign on to your Facebook account and click on the “account” button at the top

right side of your Facebook page. Click on “account settings” on the toolbar that opens up. On

this newly opened screen, click on the “learn more” button by the “download your information”

section. Click on the download button. Facebook will then compile the zip file and e-mail a

notification to you with a link in the e-mail that will allow you to download the Facebook file.

This process takes between 30-90 minutes, depending on the size of the profile. Please save this

profile to CD, DVD, or USB drive and provide it as your response.)

                                  INTERROGATORY NO. 34

       Please provide the tagged photographs on your profile (you must open each picture

individually, right click on the picture, and save it on the same media referenced above). For any

tagged photographs that are not produced, please create a privilege log describing said

photographs and the basis of the asserted privilege.

                                  INTERROGATORY NO. 35

       Please provide your Twitter archive. (To get your archive, go to the Settings area and

look for the “Your Twitter archive” feature. A link will be emailed to you that leads to a page
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                                 2023CV00526




within Twitter where you can complete the download. After clicking download, a zip file will be

downloaded. When you open that file, you will see a “readme” file with instructions. Please

provide this zip file.)

                                    INTERROGATORY NO. 36

        Please produce a copy of your Instagram profile, including any and all photographs and

comments posted thereto.

                                    INTERROGATORY NO. 37

        Please describe the accident in detail.

                                    INTERROGATORY NO. 38

        Please list all injuries you are claiming as a result of the accident.

                                    INTERROGATORY NO. 39

        Please state all health insurance coverage providing coverage for you presently and for

the past 5 years.

                                    INTERROGATORY NO. 40

        Did you have a cell phone in your possession at the time of the accident? If so, please

provide the cell phone number, service provider and the name of the account holder.

                                    INTERROGATORY NO. 41

        Please provide the following information about yourself;

        (a) Date of birth;
        (b) Social Security Number or your health insurance claim number (“HICN”);
        (c) Gender.

    This information and the information outlined in interrogatory #42 and 43 are necessary so

that the defendant or any insurer of the defendant can comply with the Medicare regulations. See
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42 U.S.C. 1395(y)(b)(8) otherwise known as Medicare, Medicaid and S-CHIP Extension Act of

2007 (“MMSEA”), Section 111.

                                   INTERROGATORY NO. 42

   Are you currently a Medicare beneficiary? If so, Please identify any and all amounts that

have been paid by Medicare in satisfaction of medical expenses from any healthcare provider

involved in the treatment of your injuries you are claiming in this lawsuit. Please outline any

communications that you have had with Medicare and specifically any Medicare secondary

payor contractor regarding their lien.

                                   INTERROGATORY NO. 43

       If you are not currently a Medicare beneficiary, do you anticipate becoming one during

the pendency of this litigation? To the extent you become a Medicare beneficiary during the

pendency of this litigation, please be sure to supplement your discovery responses accordingly so

that the defendant can comply with the above Medicare regulations.

       Respectfully submitted, this 18th day of May, 2023.

                                                FAIN, MAJOR & BRENNAN, P.C.

                                                /s/ Robyn M. Roth
                                                ROBYN M. ROTH
One Premier Plaza                               Georgia Bar No. 153025
5605 Glenridge Drive NE, Suite 900              Counsel for Defendants Sanchez Arredondo and
Atlanta, GA 30342                               Cobra Carrier, LLC
(404) 688-6633
rroth@fainmajor.com
     Case 1:23-mi-99999-UNA Document  2282-15 Filed 07/19/23 Page 13 of 18
                                 2023CV00526




                     IN THE STATE COURT OF CLAYTON COUNTY
                                STATE OF GEORGIA

RONALD WRIGHT,                                )
                                              )
               Plaintiff,                     )       CIVIL ACTION FILE NO.: 2023CV00526
       v.                                     )
                                              )
SANCHEZ ARREDONDO and                         )
COBRA CARRIER, LLC,                           )
                                              )
               Defendants.                    )

                                 CERTIFICATE OF SERVICE

       This is to certify that I have this day served the foregoing Defendants Sanchez

Arredondo and Cobra Carrier, LLC’s First Continuing Interrogatories to Plaintiff Ronald

Wright with the Clerk of Court using Odyssey eFileGA which will automatically send e-mail

notification of such filing to all parties of record and/or by depositing a copy of same with the

United States Postal Service, with first class postage prepaid, as follows:

                                      Edward Hardrick, Esq.
                                    Morgan & Morgan, PLLC
                                   178 S. Main Street, Unit 300
                                      Alpharetta, GA 30009
                                   ehardrick@forthepeople.com

       Respectfully submitted, this 18th day of May, 2023.

                                                  FAIN, MAJOR & BRENNAN, P.C.

                                                  /s/ Robyn M. Roth
                                                  ROBYN M. ROTH
One Premier Plaza                                 Georgia Bar No. 153025
5605 Glenridge Drive NE, Suite 900                Counsel for Defendants Sanchez Arredondo and
Atlanta, GA 30342                                 Cobra Carrier, LLC
(404) 688-6633
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      Case 1:23-mi-99999-UNA Document  2282-15 Filed 07/19/23 Page 14 of 18
                                  2023CV00526                             e-Filed 5/18/2023 9:01 AM




                                                                                                         Tiki Brown
                                                                                                Clerk of State Court
                     IN THE STATE COURT OF CLAYTON COUNTY                                  Clayton County, Georgia
                                                                                                         <<Name>>
                                STATE OF GEORGIA

RONALD WRIGHT,                                 )
                                               )
               Plaintiff,                      )        CIVIL ACTION FILE NO.: 2023CV00526
        v.                                     )
                                               )
SANCHEZ ARREDONDO and                          )
COBRA CARRIER, LLC,                            )
                                               )
               Defendants.                     )

       DEFENDANTS SANCHEZ ARREDONDO AND COBRA CARRIER, LLC’S
             FIRST REQUEST FOR PRODUCTION OF DOCUMENTS
                     TO PLAINTIFF RONALD WRIGHT

TO:     Ronald Wright
        c/o Edward Hardrick, Esq.
        Morgan & Morgan, PLLC
        178 S. Main Street, Unit 300
        Alpharetta, GA 30009

        COMES NOW Defendants, Sanchez Arredondo and Cobra Carrier, LLC, through the

undersigned counsel, and serves this Request for Production of Documents upon Plaintiff

pursuant to O.C.G.A. § 9-11-34. Plaintiff is requested to produce to the undersigned counsel,

within thirty-three days of service of these Request for Production of Documents, the

documentary evidence requested hereinafter. Said documentary evidence is alleged to be in

Plaintiff’s possession, custody and control and is pertinent to the issues in said case.

                                                   1.

        All written statements or reports of any kind prepared by all persons, firms or

corporations who, to your knowledge, have investigated any aspect of or physical object

involved in this case.
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                                 2023CV00526




                                                2.

       All statements, whether written or recorded, which have been obtained by you or

someone acting on your behalf, from any person listed in any responses to Defendant’s First

Continuing Interrogatories to Plaintiff.

                                                3.

       Please produce all charts, reports, medical records, psychological records, statements,

bills or other documents concerning any medical or psychological examination, treatment or

counseling received by you as a result of the occurrence in question.

                                                4.

       If you contend that you have lost any wages as a result of the incident, which is the

subject matter of the instant action, please produce any and all documentation evidencing that

time you claim to have lost from your work and any wages you might have lost as a result

thereof.

                                                5.

       Please produce any and all estimates of repair, repair bills or expenses incurred by you or

on your behalf for damages done to your motor vehicle or the vehicle in which you were riding

and all salvage bids which were submitted on that vehicle after the occurrence in question.

                                                6.

       Please produce each and every photograph, drawing or graphic representation of any

person, place or thing relating to the occurrence in question, including but not limited to,

photographs of any property damage to Plaintiff’s vehicle.
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                                                7.

       All proofs of loss, Med-Pay applications or claim forms, subrogation agreement,

assignments or any other related insurance documents which you have executed in connection

with any payment made to you by an insurer or other person in connection with the occurrence

which forms the basis of the pending action.

                                                8.

       Please produce all documents reflecting payment to you or on your behalf by any person,

insurance company or other entity, other than this Defendant, for expenses, lost wages or

damages arising from the incident referenced in your Complaint.

                                                9.

       Please produce each and every document, letter or other tangible item which you contend

evidences any fact or circumstance relating to your claim against Defendant, including, but not

limited to, those documents you plan to produce at trial and specifically identify such documents.

                                                10.

       If you contend that you have lost any wages as a result of the accident which is the

subject matter of the instant action, please produce copies of your tax returns for the last five

years preceding your response to this Request and, if such documents are not available to you,

complete the attached Request for Copy of Tax Form, Form 4506.

                                                11.

       Please produce each and every document not previously requested which is referenced in

response to Defendant’s First Continuing Interrogatories to Plaintiff.
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                                    2023CV00526




                                                 12.

          Please produce all diaries, memoranda, notes or other documents, which were kept or

prepared by you concerning your physical and/or mental condition after the incident that is the

subject matter of your Complaint.

                                                 13.

          Please supply a color copy front and back of your driver’s license and/or identification

card.

                                                 14.

          Please produce a copy of the front and back of your health insurance card.

                                                 15.

          Please produce copies of any and all medical expenses or bills that you are claiming in

this case with an outline of the specific amounts that have been paid by Medicare. Please also

produce any conditional payment summary that you have been provided through Medicare or the

Medicare secondary payor contractor. If you do not have this document, please make a request

from the Medicare secondary payor contractor to provide this document and produce as soon as

possible.

          Respectfully submitted, this 18th day of May, 2023.

                                                   FAIN, MAJOR & BRENNAN, P.C.

                                                   /s/ Robyn M. Roth
                                                   ROBYN M. ROTH
One Premier Plaza                                  Georgia Bar No. 153025
5605 Glenridge Drive NE, Suite 900                 Counsel for Defendants Sanchez Arredondo and
Atlanta, GA 30342                                  Cobra Carrier, LLC
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     Case 1:23-mi-99999-UNA Document  2282-15 Filed 07/19/23 Page 18 of 18
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                     IN THE STATE COURT OF CLAYTON COUNTY
                                STATE OF GEORGIA

RONALD WRIGHT,                                )
                                              )
               Plaintiff,                     )       CIVIL ACTION FILE NO.: 2023CV00526
       v.                                     )
                                              )
SANCHEZ ARREDONDO and                         )
COBRA CARRIER, LLC,                           )
                                              )
               Defendants.                    )

                                 CERTIFICATE OF SERVICE

       This is to certify that I have this day served the foregoing Defendants Sanchez

Arredondo and Cobra Carrier, LLC’s First Request for Production of Documents to Plaintiff

Ronald Wright with the Clerk of Court using Odyssey eFileGA which will automatically send

e-mail notification of such filing to all parties of record and/or by depositing a copy of same with

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                                      Edward Hardrick, Esq.
                                    Morgan & Morgan, PLLC
                                   178 S. Main Street, Unit 300
                                      Alpharetta, GA 30009
                                   ehardrick@forthepeople.com

       Respectfully submitted, this 18th day of May, 2023.

                                                  FAIN, MAJOR & BRENNAN, P.C.

                                                  /s/ Robyn M. Roth
                                                  ROBYN M. ROTH
One Premier Plaza                                 Georgia Bar No. 153025
5605 Glenridge Drive NE, Suite 900                Counsel for Defendants Sanchez Arredondo and
Atlanta, GA 30342                                 Cobra Carrier, LLC
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